      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 1 of 12


                 IN THE DISTRICT COURT OF THE VIRGIN ISLANDS

                                   DIVISION OF ST. CROIX

JOSEPHAT HENRY resident of Harvey,
KAY WILLIAMS resident of Harvey,
SYLVIA BROWNE resident of Clifton Hill,           CIVIL NO. 1999/0036
MAUDE DREW resident of Estate Barren
Spot, MARTHA ACOSTA resident of Estate
Profit, WILHELMINA GLASGOW as in                  ACTION FOR DAMAGES
individual and mother and next of friend of
SAMANTHA VIERA, a minor, both
residents of Estate Profit, MERCEDES              JURY TRIAL DEMANDED
ROSA resident of Estate Profit, GEORGE
RODRIGUEZ as an individual and as father
and next friend of AMANDO and GEORGE
E. RODRIGUEZ, minors, all residents of
Estate Profit, SONYA CIRILO resident of
Estate Profit, RAQUEL TAVAREZ, resident
of Estate Profit, NEFTALI CAMACHO, as
an individual and as father and next friend of
ANGEL JAVIER CAMACHO a minor, both
residents of Estate Profit, EYAJIE
MALAYKHAN resident of Estate Profit,
CHEDDIE KELSHALL resident of Estate
Profit and other persons too numerous to
mention, A CLASS ACTION,

                      Plaintiff,

       v.

ST. CROIX ALUMINA, LLC, ALCOA
INC., and GLENCORE, LTD., f/k/a
CLARENDON, LTD.,

                      Defendant.



                   DECLARATION OF LEE J. ROHN IN SUPPORT OF:
         (1) PLAINTIFFS’ RESPONSE AND MEMORANDUM IN OPPOSITION
        TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT BASED ON
           PLAINTIFFS’ LACK OF NECESSARY EVIDENCE [DE 1313]; AND
             (2) PLAINTIFFS’ RESPONSE TO ALCOA, INC. AND ST. CROIX
        ALUMINA’S MOTION FOR SUMMARY JUDGMENT ON PLAINTIFFS’
                  CLASS CLAIMS FOR INJUNCTIVE RELIEF [DE 1310]
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 2 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 1

     I, Lee J. Rohn, being first duly sworn, declare under penalty of perjury that the foregoing is
true and correct.

    1. “My name is Lee J. Rohn. I am competent to make this declaration. The facts stated
herein are within my personal knowledge and are true and correct.

    2. I am an attorney admitted to practice in the Virgin Islands and before this Court. I am
representing Plaintiffs in the above-referenced lawsuit. Defendants Alcoa, Inc. (“Alcoa”), St.
Croix Alumina, LLC (“SCA”), and Glencore Ltd. (“Glencore”) filed their Motion for Summary
Judgment Based on Plaintiffs’ Lack of Necessary Evidence (Doc. No. 1313) on May 22, 2009
(“Joint Motion”). Defendant Alcoa filed its Motion for Summary Judgment on Plaintiffs’ Class
Claim for Injunctive Relief (Doc. No. 1310) on May 15, 2009, and Glencore incorporated
Alcoa’s motion into its Motion for Summary Judgment on Class Claims for Injunctive Relief and
Memorandum of Points and Authorities (Doc. 1312) in support thereof. This affidavit is filed in
support of Plaintiffs’ Response and Memorandum in Opposition to Defendants’ Motion for
Summary Judgment Based on Plaintiffs’ Lack of Necessary Evidence and Plaintiffs’ Response
and Memorandum in Opposition to Alcoa, Inc. and St. Croix Alumina’s Motion for Summary
Judgment on Plaintiffs’ Class Claims for Injunctive Relief.

     3. Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the Deposition
of Josephat Henry taken herein on March 20, 2000.

    4. Attached hereto as Exhibit 2 is a true and correct copy of the Affidavit of Josephat Henry
taken herein.

    5. Attached hereto as Exhibit 3 is a true and correct copy of the Affidavit of Kay Williams
taken herein.

    6. Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the Deposition
of Kay Williams taken herein on March 22, 2000.

    7. Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the Deposition of
Kay Williams taken herein on December 10, 2003.

   8. Attached hereto as Exhibit 6 is a true and correct copy of the Affidavit of Sylvia
Browne taken herein.

    9. Attached hereto as Exhibit 7 is a true and correct copy of excerpts from the Deposition
of Sylvia Browne taken herein on March 22, 2000.

    10. Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the Deposition
of Sylvia Browne taken herein on December 9, 2003.

    11. Attached hereto as Exhibit 9 is a true and correct copy of the Affidavit of Maud Drew
taken herein.

    12. Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the Deposition
of Maud Drew taken herein on December 10, 2003.
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 3 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 2

   13. Attached hereto as Exhibit 11 is a true and correct copy of the Affidavit of Martha
Acosta taken herein.

   14. Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the Deposition
of Martha Acosta taken herein on October 15, 2001.

   15. Attached hereto as Exhibit 13 is a true and correct copy of the Affidavit of Wilhelmina
Glasgow taken herein.

   16. Attached hereto as Exhibit 14 is a true and correct copy of excerpts from the Deposition
of Wilhelmina Glasgow taken herein on October 16, 2001.

   17. Attached hereto as Exhibit 15 is a true and correct copy of excerpts from the Deposition
of Wilhelmina Glasgow taken herein on June 24, 2003.

    18. Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the Deposition
of Samantha Viera taken herein on June 24, 2003.

   19. Attached hereto as Exhibit 17 is a true and correct copy of the Affidavit of George
Rodriguez taken herein.

    20. Attached hereto as Exhibit 18 is a true and correct copy of excerpts from the Deposition
of George Rodriguez taken herein on June 26, 2003.

    21. Attached hereto as Exhibit 19 is a true and correct copy of the Affidavit of Sonya Cirilo
taken herein.

    22. Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the Deposition
of Sonya Cirilo taken herein on June 27, 2003.

   23. Attached hereto as Exhibit 21 is a true and correct copy of the Affidavit of Raquel
Tavarez taken herein.

    24. Attached hereto as Exhibit 22 is a true and correct copy of excerpts from the Deposition
of Raquel Tavarez taken herein on June 24, 2003.

  25. Attached hereto as Exhibit 23 is a true and correct copy of the Affidavit of Neftali
Camacho taken herein.

    26. Attached hereto as Exhibit 24 is a true and correct copy of excerpts from the Deposition
of Neftali Camacho taken herein on June 25, 2003.

   27. Attached hereto as Exhibit 25 is a true and correct copy of the Affidavit of Eyajie
Malaykhan taken herein.

    28. Attached hereto as Exhibit 26 is a true and correct copy of excerpts from the Deposition
of Eyajie Malaykhan taken herein on June 23, 2003.
       Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 4 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 3

    29. Attached hereto as Exhibit 27 is a true and correct copy of excerpts from the Deposition
of Kelshall Cheddie taken herein on June 23, 2003.

   30. Attached hereto as Exhibit 28 is a true and correct copy of the Affidavit of Mercedes
Rosa taken herein.

   31. Attached hereto as Exhibit 29 is a true and correct copy of excerpts from the Deposition
of Mercedes Rosa taken herein on June 25, 2003.

  32. Attached hereto as Exhibit 30 is a true and correct copy of excerpts from SCA’s
Amended Responses to Plaintiffs’ First Set of Interrogatories herein.

     33. Attached hereto as Exhibit 31 is a true and correct copy of a report by Arthur D. Little
called “Environmental Due Diligence Assessment” (“Little Report”) dated August 2001 as it was
produced in discovery in this case by counsel for Defendants on May 23, 2008.1 Defendant St.
Croix Alumina included the Little Report as Exhibit H to SCA and Alcoa World Alumina,
LLC’s Statement of Undisputed Facts (Doc. No. 229) in St. Croix Renaissance Group, LLLP, et
al., v. St. Croix Alumina, LLC, No. 2004/67 in the U.S. District Court of the Virgin Islands,
Division of St. Croix. SCA admitted that it received the Little Report in August 2001 and
provided St. Croix Renaissance Group and others with a copy of the report as part of the due
diligence in the sale of the St. Croix Alumina Refinery (“the Refinery”). This recent statement
by SCA in a pleading in this court is an admission against interest under Fed. R. Evid. 801(d)
that the Little Report is authentic and admissible non-hearsay.

    34. Attached hereto as Exhibit 32 is a true and correct copy of excerpts from the Deposition
of Eric Black taken herein on April 24, 2002.

    35. Attached hereto collectively as Exhibit 33 is a true and correct copy of Ward, Sam C.,
Reclaiming Bauxite Residue Disposal Areas in South-West Australia, in Australia Mining
Industry Council, Canberra, Mining Rehabilitation ’87 (Tom Farrell ed., 1987) and a true and
correct copy of a page from the website of the National Library of Australia printed on July 14,
2009. The Ward chapter is an authentic and admissible ancient document under FED. R. EVID.
803(16) and 901(b)(8) because: (1) as a chapter of a published book, its existence casts no
suspicion upon it; (2) it is more than twenty years old; and (3) it is available from the National
Library of Australia (see http://catalogue.nla.gov.au/Record/1680703), where one would expect
to find an authentic document of its kind. The Ward chapter is also an admissible learned
treatise.

   36. Attached hereto as Exhibit 34 is a true and correct copy of the “Environmental
Assessment Report for the Expansion of Red Mud Storage Ponds at the Virgin Islands Alumina
Corporation’s Alumina Refinery, Estate Annaberg and Shannon Grove, and Estate Spanish
Town, St. Croix, Virgin Islands,” prepared by BioImpact, Inc. submitted by Virgin Islands

1
 A document produced by the opposing party in the litigation is authenticated. See U.S. v. Brown, 688 F.2d 1112,
1116 (7th Cir. 1982); Int’l Paper Co. v. Androscoggin Energy, LLC, 2002 WL 31155069, *2 (N.D. Ill. 2002); John
Paul Mitchell Sys. V. Quality King Distrib., Inc., 106 F. Supp. 2d 462, 472 (S.D.N.Y. 2000); In Re Greenwood Air
Crash, 924 F. Supp. 1511, 1514-15 (S.D. Ind. 1995); South Cent. Bank and Trust v. Citicorp Credit Servs., 863
F.Supp. 625, 646 (N.D. Ill. 1994); and In Re Asbestos School Litigation, 1991 WL 134322, *2 (E.D. Pa. 1991).
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 5 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 4

Alumina Incorporated to the Office of Coastal Zone Mgmt., Office of Permits, Dept. of Planning
and Natural Resources (“DPNR”), Gov’t of the Virgin Islands (Apr. 1994) (“1994 BioImpact
Report”). This document is authentic and admissible as an admission against interest under FED.
R. EVID. 804(b)(3) and 801(d).

    37. Attached hereto as Exhibit 35 is a true and correct copy of a document called “Capital
Costs 1989-1990” (G00166-174) and produced by Defendant Glencore in discovery in this case.
This document is admissible under Fed. R. Evid. 807 because: (1) it was produced by Glencore
in response to discovery requests in this case; (2) it is the type of business record one would
expect to find within Glencore’s possession; (3) the document is the best available source of
information on whether Glencore made any improvements to the bauxite storage shed during the
relevant time period; and (4) the general purpose of the rules and the interests of justice would be
best served by admitting this evidence.

    38. Attached hereto as Exhibit 36 is a true and correct copy of a report by Dames & Moore
to Martin Marietta Alumina dated October 5, 1977 (“Dames & Moore Report”) and produced by
SCA in this case bearing Bates Nos. SCA 000368-531. The Dames & Moore Report is an
authentic and admissible ancient document under FED. R. EVID. 803(16) and 901(b)(8) because:
(1) its existence casts no suspicion upon it since Martin Marietta had an ownership interest in the
Refinery at the time the document was created; (2) it is more than twenty years old; and (3) it
was produced by SCA in discovery in this, where one would expect to find an authentic
document of its kind.

    39. Attached hereto as Exhibit 37 is a true and correct copy of the “Environmental
Assessment Report for a Well Water Gathering System at the Virgin Islands Alumina
Corporation’s Alumina Refinery, Estate Annaberg and Shannon Grove, and Estate Spanish
Town, St. Croix, Virgin Islands,” prepared by BioImpact, Inc. and submitted by Virgin Islands
Alumina Incorporated to the Office of Coastal Zone Mgmt., Office of Permits, Dept. of Planning
and Natural Resources (“DPNR”), Gov’t of the Virgin Islands (Feb. 1991). This document
(“1991 BioImpact Report”) was produced by Defendant SCA in discovery bearing bates
numbers “SCA 00076-154.” This document is authentic and admissible as an admission against
interest under FED. R. EVID. 804(b)(3) and 801(d).

   40. Attached hereto as Exhibit 38 is a true and correct copy of a document called
“Hurricane Manual Eric Black,” produced in discovery in this case by Defendant SCA as “SCX
000626-665.” This document is authentic under FED. R. EVID. 901(b)(4) because its cover and
pages have distinctive characteristics. This document is also authentic and admissible as an
admission against interest under FED. R. EVID. 804(b)(3) and 801(d). See also Black Dep. at
11:14-23 (identifying the manual as the one to which Black contributed).

    41. Attached hereto as Exhibit 39 is a true and correct copy of a document called
“Hurricane Preparedness Procedure and Recovery Plan Revised July 2000,” produced in
discovery in this case by Defendant SCA as “SCX 033030-114.” This document is authentic
under FED. R. EVID. 901(b)(4) because its cover and pages have distinctive characteristics. This
document is also authentic and admissible as an admission against interest under FED. R. EVID.
804(b)(3) and 801(d).
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 6 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 5

    42. Attached hereto as Exhibit 40 is a true and correct copy of the Notice of Violation,
Order for Corrective Action, and Notice of Opportunity for Hearing ordered on Oct. 21, 1998 by
the DPNR and produced in discovery in this case by the DPNR bearing bates numbers “DPNR
000706-713.” This document is authentic and admissible as an official public record and/or
report under FED. R. EVID. 803(8), 901(7), and 902(5).

    43. Attached hereto as Exhibit 41 is a true and correct copy of a DPNR Interoffice
Memorandum dated Sept. 24, 1998. This document was produced by Defendants in discovery in
this case and is authentic and admissible as an official public record and/or report under FED. R.
EVID. 803(8) and 901(7).

    44. Attached hereto as Exhibit 42 is a true and correct copy of a document called “Bauxite
Residue Management Standards and Guidelines,” dated Aug. 1987 and produced by Defendant
Alcoa in this case bearing bates numbers “AI000076-132.” See also Black Dep. at 132:1-20
(testifying as a corporate representative that he has seen the document before and that it was
created by Alcoa). This document is also authentic and admissible as an admission against
interest under FED. R. EVID. 804(b)(3) and 801(d) because it contains statements that bauxite can
be dangerous to human health.

    45. Attached hereto as Exhibit 43 is a true and correct copy of Arun S. Wagh, “Physical
and Chemical Characterization of Bayer Process Waste (Red Mud) From Virgin Island Alumina
Refinery at St. Croix and an Assessment of Its Potential for Commercial Utilization,” dated Oct.
31, 1993 (Bates Labeled Bock 003 through Bock 031). This document is authenticated by its
author’s testimony. See Wagh Dep. (Exhibit 72) at 116:18-117:4 (identifying the report as what
he wrote and provided to VIALCO). This document is an admissible statement against interest
under FED. R. EVID. 804(b)(3) and 801(d).

     46. Attached hereto as Exhibit 44 is a true and correct copy of an excerpt of “Site Assessment
for the Vialco Facility St. Croix, U.S. Virgin Islands,” dated Nov. 1995, Prepared for Alcoa by
Geraghty & Miller, Inc., and produced in discovery by Defendant Alcoa as “AI000835-
AI0001726” (“Geraghty & Miller Report”). Defendant St. Croix Alumina included the Geraghty
& Miller Report as Exhibit I to St. Croix Alumina, LLC (“SCA”) and Alcoa World Alumina,
LLC’s Statement of Undisputed Facts (Doc. No. 229) in St. Croix Renaissance Group, LLLP, et
al., v. St. Croix Alumina, LLC, No. 2004/67 in the U.S. District Court of the Virgin Islands,
Division of St. Croix and admitted that Alcoa retained Geraghty & Miller to prepare the report
and that SCA provided St. Croix Renaissance Group and others with a copy of the report as part
of their due diligence in the sale of the St. Croix Alumina Refinery (“the Refinery”). This recent
statement by Defendant SCA in a pleading in this court is an admission against interest under
FED. R. EVID. 804(b)(3) and 801(d) that the Geraghty & Miller Report is authentic and
admissible non-hearsay.

   47. Attached hereto as Exhibit 45 is a true and correct copy of excerpts from the Deposition
of Warren Pedersen taken herein on April 25, 2002.

    48. Attached hereto as Exhibit 46 is a true and correct copy of excerpts from the Deposition
of Patrick O’Neale taken herein on January 25, 2002.
          Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 7 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 6

    49. Attached hereto as Exhibit 47 is a true and correct copy of excerpts from the Deposition
of Fred Williams taken herein on June 17, 2005.

    50. Attached hereto as Exhibit 48 is a true and correct copy of excerpts from the Deposition
of Joseph L. Norton taken herein on February 25, 2002.

    51. Attached hereto as Exhibit 49 is a true and correct copy of excerpts from the Deposition
of Robert Scott Prusak taken herein on February 22, 2002.

    52. Attached hereto as Exhibit 50 is the St. Croix Alumina Refinery Report to Clarendon,
Ltd. (Bates Nos. G00207-68) as produced by Defendant Glencore herein. This document is
authentic because (1) it was produced by Glencore in discovery in this case; (2) Defendant
Glencore’s corporate represented testified that he remembered the report;2 and (3) pursuant to
FED. R. EVID. 901(b)(4), each page of text in the document bears the name “St. Croix Alumina
Refinery Report to Clarendon, Ltd.,” which is a distinctive characteristic. This document is
admissible as an admission against interest under FED. R. EVID. 804(b)(3) and 801(d) because it
states that Defendant Glencore had concerns about problems at the Refinery, including the ability
of the bauxite storage shed to withstand storm conditions and the potential “air pollution
problem” posed by bauxite residue. Id. at G00213; G00242.

   53. Attached hereto as Exhibit 51 is a Press Release by Ormet Corporation dated May 18,
1989 that was produced by Defendant Glencore in discovery with Bates Nos. G00428-430. This
document is an authentic and admissible ancient document under FED. R. EVID. 803(16) and
901(b)(8) because its existence casts no suspicion upon it, it is more than twenty years old, and it
was located where an authentic document would be expected—within Glencore’s files.

   54. Attached hereto as Exhibit 52 is “Technology Roadmap for Bauxite Residue Treatment
and Utilization,” by Energetics, Inc. dated February 2000.

   55. Attached hereto as Exhibit 53 is a true and correct copy of St. Croix Alumina, LLC
(“SCA”) and Alcoa World Alumina, LLC’s Statement of Undisputed Facts (Doc. No. 229) in St.
Croix Renaissance Group, LLLP, et al., v. St. Croix Alumina, LLC, No. 2004/67 in the U.S.
District Court of the Virgin Islands, Division of St. Croix. This document is authentic and
admissible as an admission against interest under FED. R. EVID. 804(b)(3) and 801(d) because it
contains numerous statements that contradict Defendants’ positions in the Joint Motion.

    56. Attached hereto as Exhibit No. 54 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Sept. 10, 1999. This document was produced by Alcoa in
this case bearing Bates Nos. Al000008-14.

    57. Attached hereto as Exhibit No. 55 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Nov. 13, 1985. This document was produced by Alcoa in
this case bearing Bates Nos. Al000656-658.



2
    See Exhibit 45, supra, at 48 (“I remember the report. The report is a report to the management of Clarendon, Ltd.”)
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 8 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 7

    58. Attached hereto as Exhibit No. 56 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Nov. 3, 1987. This document was produced by Alcoa in this
case bearing Bates Nos. Al000671-674.

    59. Attached hereto as Exhibit No. 57 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Nov. 1, 1990. This document was produced by Alcoa in this
case bearing Bates Nos. Al000687-689.

    60. Attached hereto as Exhibit No. 58 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Mar. 31, 1990. This document was produced by Alcoa in this
case bearing Bates Nos. Al000696-700.

    61. Attached hereto as Exhibit No. 59 is a true and correct copy of the Material Safety Data
Sheet prepared by Alcoa and dated Oct. 31, 2000. This document was produced by Alcoa in this
case bearing Bates Nos. Al00001-07.

   62. Exhibits 54-59 are authentic because they were produced by Alcoa in discovery in this
case and they bear Alcoa’s name and logo, which is a distinctive characteristic pursuant to FED.
R. EVID. 901(b)(4). These documents are also admissible as admissions against interest under
FED. R. EVID. 804(b)(3) and 801(d) because they state that red mud and bauxite can cause health
hazards including those experienced by Plaintiffs herein.

   63. Attached hereto as Exhibit 60 is a true and correct copy of excerpts from the Deposition
of Walter Larsen taken herein on June 15, 2005.

  64. Attached hereto collectively as Exhibit 61 are true and correct copies of the reports of
Walter Larsen submitted by Defendants herein.

    65. Attached hereto collectively as Exhibit 62 are true and correct copies of the reports of
Phillip Guzelian submitted by Defendants herein.

   66. Attached hereto as Exhibit 63 is a true and correct copy of excerpts from the Deposition
of Mavis Matthew taken herein on Apr. 29, 2005.

    67. Attached hereto as Exhibit 64 is a true and correct copy of EPA Memorandum dated Oct.
26, 1998 (Bates Labeled Tarr-01998-2043). This document is authentic and admissible as an
official public record and/or report under FED. R. EVID. 803(8), 901(7), and 902(5).

    68. Attached hereto as Exhibit 65 is a true and correct copy of the St. Croix CAM Committee
Staff Recommendation, Major CZM Permit No. CZX-25-94L Expansion of Red Mud Storage
Area, Virgin Islands Alumina Corporation (Sept. 6, 1994), an official publication and/or public
record under FED. R. EVID. 803(8), 901(7), 902(5).

   69. Attached hereto as Exhibit 66 is a true and correct copy of St. Croix Alumina, LLC’s
“Residue Disposal Facilities Master Plan,” dated June 2000 and produced by Defendant SCA
herein bearing Bates Nos. SCX032973-033029. This document is also admissible as an
admission against interest under FED. R. EVID. 804(b)(3) and 801(d).
      Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 9 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 8

    70. Attached hereto as Exhibit 67 is a true and correct copy of Wagh, A.S., et al, A study of
inter-particle bonds in dry bauxite waste resulting in atmospheric Aerosols, PHYSICA SCRIPTA
305-309 (1988), Bates Nos. Tarr 8162-8166. This article is authenticated by its author’s
testimony and is a learned treatise under FED. R. EVID. 803(18). See Wagh Dep. (Exhibit 72) at
88:17-89:16.

    71. Attached hereto as Exhibit 68 is a true and correct copy of “Dust Management Plan for
the Alcoa Pinjarra Bauxite Residue Disposal Area,” March 2007, Bates Nos. Klepp–007804-40.
The cover of this document has Alcoa’s name and logo, which is a distinctive characteristic
pursuant to FED. R. EVID. 901(b)(4). This document is also admissible as an admission against
interest under FED. R. EVID. 804(b)(3) and 801(d).

   72. Attached hereto collectively as Exhibit 69 are true and correct copies of excerpts from the
Deposition of Ranjit E. Machado, Volumes 1 through 3, May 11, 2005, May 13, 2005 and
October 30, 2008.

   73. Attached hereto as Exhibit 70 is a true and correct copy of the Expert Report of Ranjit J.
Machado, PE and Joseph V. Rodricks, PhD, February 2005, also referred as the “Environ
Report.”

    74. Attached hereto as Exhibit 71 is a true and correct copy of the DPNR Memo from Tyrone
Benjamin, Environmental Specialist 11, to Austin Moorehead, Director (Oct. 5, 1998), an official public
record under FED. R. EVID. 803(8) and 901(7).

    75. Attached hereto as Exhibit 72 is a true and correct copy of excerpts from the Deposition
of Arun Wagh taken herein on Apr. 26, 2005.

   76. Attached hereto as Exhibit 73 is a true and correct copy of the Expert Report of Edward
W. Kleppinger dated Apr. 10, 2003.

   77. Attached hereto as Exhibit 74 is a true and correct copy of the Supplemental Expert
Report of Edward W. Kleppinger dated Feb. 8, 2008.

   78. Attached hereto as Exhibit 75 is a true and correct copy of the Second Supplemental
Expert Report Edward W. Kleppinger dated Apr. 3, 2008.

   79. Attached hereto as Exhibit 76 is a true and correct copy of the EPA Memorandum dated
Apr. 13, 1999. This document is authentic and admissible as an official public record and/or
report under FED. R. EVID. 803(8), 901(7), and 902(5). Defendants’ inclusion of this document
as Exhibit B to the Joint Motion (Doc. No. 1315-3) precludes Defendants from challenging the
authenticity and/or admissibility of this document.

    80. Attached hereto as Exhibit 77 is a true and correct copy of excerpts of weather data
collected at the St. Croix Alumina Refinery during Hurricane Georges and produced by
Defendant SCA in discovery bearing Bates Nos. SCX007394, SCX007548-55. This document is
an admissible as a present sense impression under FED. R. EVID. 803(1).
     Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 10 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 9

    81. Attached hereto, collectively, as Exhibit 78 is a true and correct copy of the Acquisition
Agreement between Virgin Islands Alumina Corp. and St. Croix Alumina Corp. and the affidavit
of Bernard Pattie authenticating that agreement.

   82. Attached hereto as Exhibit 79 is the Affidavit of Paul Arnold.

    83. Attached hereto as Exhibit 80 is a true and correct copy of Century Aluminum
Company’s 10-k Report dated Mar. 27, 1997, which is an official public record of the SEC as
printed off the SEC’s website.

    84. Attached hereto collectively as Exhibit 81 are true and correct copies of (a) receipt, (b)
check, (c) cancelled envelope (all bearing the name “Glencore, Ltd.”, produced and identified by
SCA as documents copied from DPNR), (d) true and correct copy of letter from DPNR files
regarding these documents and (e) invoice from DPNR files (corresponding to the documents),
attached as Exhibit 81.

    85. Attached hereto as Exhibit 82 is a true and correct copy of the DPNR Administrative
Order dated June 18, 2002 signed on behalf of SCA by Eric W. Black. This document is
authentic and admissible as an official public record and/or report under FED. R. EVID. 803(8),
901(7), and 902(5).

    86. Attached hereto as Exhibit 83 is a true and correct copy of the Consent Order and
Stipulation of Dismissal with Prejudice between DPNR and SCA, dated January 22, 2003, and
signed on behalf of SCA by Eric W. Black. This document is authentic and admissible as an
official public record and/or report under FED. R. EVID. 803(8), 901(7), and 902(5).

    87. Attached hereto as Exhibit 84 is a true and correct copy of DPNR Development Permit
Application, which includes Forms L & WD 2, Permit Application, L & WD-3, Zoning
Requirement Table, and Form L & WD-4, Major Project Summary Data, all dated March 14,
2003, all identifying SCA as the applicant, and all signed on behalf of SCA by Eric W. Black.
This document is authentic and admissible as an official public record and/or report under FED.
R. EVID. 803(8), 901(7), and 902(5).

    88. Attached hereto as Exhibit 85 is a true and correct copy of Major-Coastal-Zone-
Management-Permit-No.-CZX-15-03(L)-11-10-2003, identifying SCA as the Permittee, and
signed by the Chairman of the CZM Committee on November 5, 2003, and on November 10,
2003 by Eric W. Black who certified that he was duly authorized and empowered to sign the
permit on behalf of SCA. This document is authentic and admissible as an official public record
and/or report under FED. R. EVID. 803(8), 901(7), and 902(5).

    89. Attached hereto as Exhibit 86 is a true and correct copy of the letter from the
Commissioner of DPNR to counsel for Alcoa dated August 10, 2006. This document is
authentic and admissible as an official public record and/or report under FED. R. EVID. 803(8),
901(7), and 902(5).

   90. Attached hereto as Exhibit 87 is a true and correct copy of St. Croix Alumina, L.L.C. and
Alcoa World Alumina, L.L.C.’s Memorandum in Opposition to Motion to Compel Deposition of
     Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 11 of 12
Henry, et al. v. St. Croix Alumina, LLC, et al., Civil No. 1999/0036
DECLARATION OF LEE J. ROHN IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS
TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Page 10

Kirk Gribben, electronically filed in St. Croix Renaissance Group, LLLP, et al., v. St. Croix
Alumina, LLC, No. 2004/67, in the District Court of the Virgin Islands, Division of St. Croix, as
Doc. No. 117, and dated September 11, 2008. This document is authentic and admissible as an
admission against interest under FED. R. EVID. 804(b)(3) and 801(d) because it contains
statements that contradict Defendants’ positions in Alcoa’s Motion.

     91. Attached hereto as Exhibit 88 is a true and correct copy of the Memorandum of Law in
Support of Motion for Partial Summary Judgment by Defendants St. Croix Alumina, L.L.C. and
Alcoa World Alumina, L.L.C., electronically filed in DPNR v. Century Aluminum Company, et
al., Civil No. 2005-0062, in the District Court of the Virgin Islands, Division of St. Croix, as
Doc. No. 362, and dated July 15, 2009. This document is authentic and admissible as an
admission against interest under FED. R. EVID. 804(b)(3) and 801(d) because it contains
statements that contradict Defendants’ positions in Alcoa’s Motion.

Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and
correct.

Dated: July 22, 2009
                                               /s/ Lee J. Rohn             (dr)
                                               Lee J. Rohn
                                               ROHN & CARPENTER
                                               1101 King Street
                                               Christiansted, St. Croix
                                               U.S. Virgin Islands 00820-4933
                                               (340) 778-8855 / (340) 773-2954 (FAX)
 Case: 1:99-cv-00036-HB Document #: 1320 Filed: 07/22/09 Page 12 of 12


                              CERTIFICATE OF SERVICE

        I hereby certify that on July 22, 2009, a true and correct copy of the above and
foregoing Declaration of Lee J. Rohn in Support of: (1) Plaintiffs’ Response and
Memorandum in Opposition to Defendants’ Motion For Summary Judgment Based on
Plaintiffs’ Lack of Necessary Evidence [DE 1313]; and (2) Plaintiffs’ Response to Alcoa,
Inc. and St. Croix Alumina’s Motion for Summary Judgment on Plaintiffs’ Class Claims
for Injunctive Relief [DE 1310] was electronically filed with the Clerk of the Court using
the CM/ECF system, which will send a notification of such filing (NEF) to the following:

Bernard C. Pattie, Esquire                      Lori E. Jarvis, Esquire
Law Office of Bernard C. Pattie PC              Hunton & Williams
1244 Queen Cross Street, Suite 5                River Front Plaza, East Tower
St. Croix, VI 00820-4932                        951 East Byrd Street
Attorney for St. Croix Alumina LLC and          Richmond, VA 23219
Alcoa Inc.                                      Attorney for St. Croix Alumina LLC and
                                                Alcoa Inc.
Derek M. Hodge, Esquire
MacKay & Hodge                                  Daniel W. Nelson
19A-20 Kongens Gade                             Christopher H. Buckley, Jr.
P.O. Box 303678                                 Gibson, Dunn & Crutcher, LLP
St. Thomas, VI 00802                            1050 Connecticut Avenue, N.W., 3rd
Attorney for Glencore, Ltd.                     Floor
                                                Washington, DC 20036-5306
Gordon Rhea, Esquire                            Attorney for St. Croix Alumina LLC and
Richardson, Patrick Westbrook &                 Alcoa Inc.
Brickman, LLC
1037 Chuck Dawley Blvd. Bldg A                  Renè P. Tatro, Esquire
Mt. Pleasant, SC 29464                          Tatro Tekosky Sadwick LLP
Attorney for Plaintiffs                         333 S. Grand Avenue, Suite 4270
                                                Los Angeles, CA 90017
Laura Baughman, Esquire                         Attorney for Glencore, Ltd.
Baron & Budd, P.C.
3102 Oak Lawn Ave.
Dallas, TX 75219-4281
Attorney for Plaintiffs

                                                    /s/ Lee J. Rohn
                                                    Lee J. Rohn
